Case 0:81-cr-06057-WPD Document 1 Entered on FLSD Docket 10/10/1997 Page 1 of 2



                   BAZ:r:                              UNITED STATES DISTRICT COURT
                                                       SOUTHERX DISTRICT OF FLORIDA

                   UNITED STATES OF AMERICA            N0 8 1 6 0 5 7 * -dL'
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                                                                   -

                   V.                                        18 U.s.c. 53150
                                                             M/s $5,000 - 5 years
                   THOR HANSEN
                                                               INDICTMKNT
               '



                        The Grand Jury charges that;                               FILES 3h'- . -..--3C
                       On or about May 19 # 1981, at Ft. Lauderdale in B'
                                                                        roward
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                                                                                   ,jh,r!c py ,,za
                   County , in the Southern District of Florida, the defendant.
                                                                                       ..-   ..   '
                                           THOR HANSEN ,                               -.
                                                                                         'ij      '
                   having previously by Indictment No . 81-6021-CR-NCR filed
                   March 2, 1981, been charged with offenses against the laws
                   of the United States , namely possession with intent to dis-
                   tribute and distribution of cocaine , in violation of Title
                   21, United States Code, Section 8:1(a)(1), which are felonies;
               having been allowed to remain on bond after having been
                   released from custody pursuant to Title 18 , Untted States
                   Code, Section 3146 upon a surety bond in the amount of
                   $25.000, and a personal surety bond in the amount of $70.000,
               for appearances before the United States District Court for
               the Southern District of Florida in connection w ith said
               charges, did knowingly and wilfully fail to appear as re-
               quired for the continuation of his Jury trial in connection
               with said charges before the Honorable Norman C . Roettger, Jr.,
               Pnited States District Court Judge; in violation of Title 18 ,
               United States Code, Section 3150 .
                                                   A TRDE BILL



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                 UCE A= Z T
               ASSISTANT UNITED STATES ATTORHEY




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                       Document 1 Entered on FLSD Docket 10/10/1997 Page 2 of 2




                                                 UNI'1121) STATES DISTnICT COURT
                                                 SOU't'IlL'
                                                          .RN DISTRICT OF PLORIDA
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               UNITED STATEZ QF AMERICA
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                                                             '  1'1l'!ATED TRIAL TIME


               THOR HANSEN


                               CERTIFICATE OP TRIAL AJ
                                                     JJ'
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                        I do hereby certify:                                               ,j
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                             I have carefully considered the allegations of the
                                                                                                               ..,
                                                                                                                 j.
              Indictment , the number of de fendant.t:, tttc number of probable                           ',. '!.''
              witnesses and the legal complexities               the indâctment                           '
              attached hereto.
                        2. I am aware that the information supplied on thîs
              statement will be relied upon by tllc Judges of tbis Court in
              settin: their calendars and scheduling crîminal trials under the
              mandate of the Speedy Trial Act, Titlo l2, D.S.C. 53161.
                             Tbis caso will take   . .- -   J
                                                            -   ..   (days) weeks) (months)
               for tbe partics to try.
                        4. (Chec the appropriate eategory)
                               I              0 to loss than 3 days
                              11                to less than 7 days
                             I11                days             Less than 3 weeks (15 dayg)
                              IV              3 Weeks (l5 days) to less than
                                              6 woeks (3O days)
                                              6 weeks to less than 3 months
                              VT                months to lesa than 6 x nths
                             VII              6 l
                                                non ths          r more




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                                              ASSISTANT UNITED STATES ATTORNEY
